Case 6:13-cV-06586-DGL-I\/|WP Document 58 Filed 11/17/17 Page 1 of 1

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

 

 

 

Be|l, et al
Plaintiff(s),
MEDIA TION
CERTIFICATION
13_ - cv - L
V.
xerox Corporation, et al
Defendant(s).
I hereby certify that:
The mediation session scheduled for_ has been adjourned to

 

 

Case settled prior to the first mediation session.

 

 

 

 

/ Mediation session was held on 11/17/17 .

 

 

/ Case has settled. (Comment if necessary).

 

 

Case has not settled. Mediation will continue on

 

 

 

 

 

Case has not settled. Mediation is complete. The case will proceed toward
trial pursuant to the Court's scheduling order.

 

Date_- 11/17/17 Med,'a,o,_- /s/ Roben B. calihan

Additional Comments:

 

 

 

